Case 2:19-cv-03902-CMR Document1 Filed 08/28/19 Page 1 of 33
JS44 (Rev 02/19) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor lement the filing and service of pleadings or other papers as required by law. except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS

Paul Molloy and Jacqueline Molloy, hAv on behalf of themselves and all | Aetna Life insurance Company and Aetna, Inc.
others similarly situated

 

(b) County of Residence of First Listed Plaintiff Delaware County County of Residence of First Listed Defendant _ Hartford County
(EXCEPT IN US. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED
(c) Attomeys (Firm Name, Address, and Telephone Numbar) Attomeys (If Known)
David S. Senoff, Esquire & Hillary B. Weinstein, Esquire - First Law Strategy Group, I.LC, 121 9 Broad Sc., Ste 300, Phila, PA 19107

Richard Ochrach, Esquire & Brett Benton, Esquire - Richard M. Ochroch & Assoc., 318 S. 16th Bt, Philadelphia, PA 190102

 

 

II. BASIS OF JURISDICTION (Piace an “X” in One Box Only) IH. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X™ in One Box for Plaintiff
(For Diversity Casas Only) and One Box for Defendant}
O 1 US Govenment 3 Federal Question PTF DEF PIE DEF
Plaintiff (U.S. Gavernment Not a Party} Citizen of This State O 1 1 1 Incorporated or Principal Place go4 a4
of Business In This State
22 US Government 0 4 Diversity Citizen of Another State 12 © 2  Sncosposated and Principal Place o5 O35
Defendant (indicate Citizenship of Parties in Item I} of Business In Another State
Citizen or Subject of a O3 © 3 Foreign Nation go6 G6
Foreign Country

 

 

 

 
  

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PERSONAL INJURY [9 625 Diug Related Seizure a @22 Appeal 28 USC 1 158 375 False Claims Act

 
 

 
 

 

 

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0 150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical Zo PROPER DE RiGH ioe) 410 Antitrast
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of Veteran’s Benefits 11 350 Moter Vehicle 370 Other Fraud 9} 710 Fair Labor Standards © 861 HEA (1395ff) © 485 Telephone Consumer
© 160 Stockhofders’ Suits 0 355 Moter Vehicle O 371 Truth in Lending Act © 862 Black Lung (923) Protection Act
190 Other Contract Product Liability CJ 380 Other Personal 2 720 Labor/Management © 863 DIWC/DIWW (405(g))_ [0 490 Cable/Sat TV
© 195 Contract Product Liability |0 360 Other Personal Property Damage Relations C7 864 SSID Title XVI 0 850 Securities/Commodities/
©) 196 Franchise Injury CO 385 Property Damage 0 740 Railway Labor Act G 865 RSI (405(g)) Exchange

0 362 Personal Injury - Product Liability 0) 751 Family and Medical
i alpracti Leave Act
0 790 Other Labor Litigation

     
     

3) 210 Land Condemnation Ty 440 Other Civil Rights

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Habeas Corpus: 4701 Employee Retirement 0 870 Taxes w s Plaintiff C1 895 Freedom of Information
© 220 Foreclosure. CF 441 Voting © 463 Alien Detainee Income Security Act or Defendant) Act
0 230 Rent Lease & Ejectment 0 442 Employment © 510 Motions to Vacate 0 871 IRS—Third Party 1 896 Astitration
© 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 0 899 Administrative Procedure
OC 245 Tort Product Liability Accommodations O 530 General Act/Review or Appeal of
© 290 All Other Real Property © 445 Amer w/Disabilities -]O 535 Death Penalty es R Agency Decision
Employment Other: 462 aie “Application 0 950 Constitutionality of
0 446 Amer w/Disabilities -[0 540 Mandamus & Other [0 465 Other immigration State Statutes
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(specify) Transfer Direct File
te the U_S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
SSO Se Siol et seq.
VI. CAUSE OF ACTION [Rrrricsaintion afcn
Class Action Complaint challenging z Defendants’ improper denial of medically necessary cancer treatment under ZRISA.
VI. REQUESTED IN ( CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R-Cv.P. JURY DEMAND: WYes No
VII. RELATED CASE(S) (See tions)
dnstrue:
IF ANY JUDGE DOCKET NUMBER
DATE SIGNA’ Oo 0 RD
August 28, 2019
‘FOR OFFICE USE ONLY 7

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG JUDGE
Case 2:19-cv-03902-CMR Document1 Filed 08/28/19 Page 2 of 33

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: 8 Surrey Drive, Newtown Square, PA 19073
Address of Defendant: 151 Farmington Avenue, Hartford, CT 06156

 

Place of Accident, Incident or Transaction: P ennsylvania

 

 

RELATED CASE, IF ANY:
Case Number: Judge: Date Terminated:

Civil cases are deemed related when Fes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No

case filed by the same individual?

I certify that, to my knowledge, the within case [J] is / [2] is not related to any case now pending or within one year previously terminated action in

this court except as noted above.
pare, 08/28/2019 GF hoagie — 209533

 

 

 

 

 

 

 

“Atiory ipOj-at-Law / Pro Se Plaintiff Attorney 1D. # (if applicable)

CIVIL: (Place a ¥ in one category only)
A, Federal Question Cases: B. Diversity Jurisdiction Cases:
Ol i. Indemnity Contract, Marine Contract, and All Other Contracts C] 1. Insurance Contract and Other Contracts
L] 2. FELA (1 2. Airplane Personal Injury
[1 3. Jones Act-Personal Injury CD 3. Assault, Defamation
C1 4. Antitrust [] 4. Marine Personal Injury
[| 5. Patent [J 35. Motor Vehicle Personal Injury
|_| 6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
[I 7. Civil Rights C1 7. Products Liability
O 8. Habeas Corpus (1 8. Products Liability — Asbestos

9. Securities Act(s) Cases (J 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
11. All other Federal Question Cases

(Please specify): ERISA, 29 U.S.C.§ 1001, et seq.
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, Hillary B. Weinstein , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

209533

Me ttor fe / Pro Se Plaintiff Attorney 1D. # (if applicable)

 

pate. 08/28/2019

 

NOTE: A trial de nove will be a trial by jury only if there has been comphiance oo F.R.C.P. 38.

 

Civ. 609 (5/2018)

 
Case 2:19-cv-03902-CMR Document1 Filed 08/28/19 Page 3 of 33

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

 

 

DESIGNATION FORM
{to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: 8 Surrey Drive, Newtown Square, PA 19073
Address of Defendant: 151 Farmington Avenue, Hartford, CT 06156
Place of Accident, Incident or Transaction: Pennsylvania
RELATED CASE, IF ANY:
Case Number: Judge: Date Terminated:

 

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No

case filed by the same individual?

I certify that, to my knowledge, the within case [[] is / [&) is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: 08/28/2019 Must sign here 209533

 

Attorney-at-Law / Pro Se Plaintiff Attorney 1D. # (if applicable)

 

 

CIVIL; (Place a ¥ in one category only)

 

 

 

 

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
(1 1. Indemnity Contract, Marine Contract, and All Other Contracts CI 1. Insurance Contract and Other Contracts
L] 2. FELA [] 2. Airplane Personal Injury
[J 3. Jones Act-Personal Injury Ci 3. Assault, Defamation
CJ 4. Antitrust (1 4. Marine Personal Injury
H 5. Patent LJ] 5. Motor Vehicle Personal Injury

6. Labor-Management Relations CL] 6. Other Personal Injury (Please specify):
C1 7. Civil Rights Cl 7. Products Liability
(0 8&8. Habeas Corpus [] 8. Products Liability - Asbestos

9. Securities Act(s) Cases L] 9. All other Diversity Cases
Hy 10. Social Security Review Cases (Please specify):
11. All other Federal Question Cases

(Please specify): ERISA, 29 U.S.C.§ 1001, et seq.
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, Hillary B. Weinstein , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

V] Relief other than monetary damages is sought.

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pare. 08/28/2019 Wlballiofeu= 209533

Attorneyfat-Law / Pro Se Plaintiff Attorney LD. # {if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5/2018)

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Paul Molloy and Jacqueline Molloy, h/w, on : CIVIL ACTION |

behalf of themselves and all others similarly situated:
Vv. :

«Aetna Life Insurance Company and Aetna, Inc. . NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court, (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(f) Standard Management — Cases that do not fall into any one of the other tracks. (x)

   

 

 

 

 

August 28, 2019 Plaintiffs

Date Atférney-at-law Attorney for

(215) 258-4700 (215) 258-4777 hweinstein@firstlawstrategy.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:19-cv-03902-CMR Document1 Filed 08/28/19 Page 5 of 33

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Paul Molloy and Jacqueline Molloy, h/w — : CIVIL ACTION
on behalf of themselves and all others : CLASS ACTION
similarly situated, :
COMPLAINT
JURY TRIAL DEMANDED
Plaintiffs,
No.

Vv.

Aetna Life Insurance Company and
Aetna Inc.

Defendants.

 

PLAINTIFF’S CLASS ACTION COMPLAINT
Plaintiffs, Paul Molloy and Jacqueline Molloy, husband and wife, (“Plaintiffs”), and adult
citizens of the Commonwealth of Pennsylvania, individually and upon behalf of all others similarly
situated, by and through their attorneys First Law Strategy Group, LLC; and Richard M. Ochroch
& Associates, P.C., hereby bring this action seeking relief from Aetna Life Insurance Company
and Aetna Inc. (collectively, “Aetna” or “Defendants”) which have their principal place of business
located at the addresses identified above, and alleges as follows based upon personal knowledge,
and together with their own acts and experiences, and as to all other matters, based upon
information and belief, including investigation conducted by Plaintiffs’ attorneys, the undersigned.
L INTRODUCTION
1. This is a class action brought pursuant to the Employee Retirement Income Security
Act of 1974, 29 U.S.C. §1001, et seq., on behalf of members, participants, and beneficiaries of an

employee welfare benefit plan (“Plan”) administered by Aetna Life Insurance Company (through
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its parent company Aetna Inc.) who were denied proton beam therapy (“Proton Beam Therapy” or
“PBT”) due to Aetna’s uniform application of an arbitrary medical policy, despite Aetna’s
statutorily mandated requirement to act as fiduciaries with respect to the Plan solely in the interest
of the participants and beneficiaries and for the exclusive purpose of: (1) providing benefits to
participants and their beneficiaries; and (2) defraying reasonable expenses of administering the
plan. Due to this breach of fiduciary duty, Aetna violated its own statements to plan participants
and beneficiaries to the contrary when it stated that it would, in fact, deliver access to medically
necessary healthcare for the treatment of cancer.

2. At the crux of this case is what happens when a duly-licensed physician prescribes
appropriate treatment, like Proton Beam Therapy, which has been recognized for decades by the
medical community and the FDA as an established, medically appropriate treatment for cancer,
and thereafter the fiduciary-insurer of an ERISA-regulated employee welfare benefit plan
substitutes its judgment for that of the treating physician and denies the treatment as not “medically
necessary” and as “experimental or investigational.”

3. Plaintiff, Paul Molloy (“Paul”), is currently a young, healthy, 36-year old man who
underwent brain surgery for a tumor located in his right temporal lobe. Following successful
surgery and removal of approximately 80% of his tumor, his doctors recommended post-operative
radiation, specifically with Proton Beam Therapy, at the Penn Medicine Roberts Proton Therapy
Center, which is part of the Hospital of the University of Pennsylvania (““HUP”). HUP is a world
class medical, research and teaching facility located in Philadelphia, Pennsylvania.

4. Plaintiff's own medical team concluded that Proton Beam Therapy is considered
more accurate than other available radiation treatments such as traditional photon, i.¢., x-ray,

radiation as it allows the physician to deliver full or higher doses of radiation while sparing
Case 2:19-cv-03902-CMR Document1 Filed 08/28/19 Page 7 of 33

surrounding healthy tissues and organs. Proton Beam Therapy can also reduce the risk of a second
malignancy by reducing the volume of radiated normal tissue.

5. Accordingly, for patients like Paul, Proton Beam Therapy is a more effective
treatment than other radiotherapies given, in that it not only destroys the tumor, but also reduces
the risk of recurrence. And, importantly for Paul, Proton Beam Therapy reduces the risk of long-
term (even permanent) neurocognitive side effects associated with irradiating parts of the brain
that surround the tumor which do not themselves require radiation but are irradiated nonetheless,
due to their proximity to the tumor.

6. Indeed, for those in Paul’s position who have been prescribed Proton Beam
Therapy, this type of radiation is the only kind that could not only help cure their cancer, but also
significantly limit radiation exposure and resulting damage to surrounding healthy cells, tissues,
or organs.

7. In fact, Proton Beam Therapy is approved for use by other private (commercial)

and government sponsored health insurance companies.

8. Proton Beam Therapy has also been approved by the FDA for treatment of cancer
since 1988.
9. The currently available data reveals that there are 27 operational proton therapy

centers in the United States, the majority of them having been constructed since 2010. Indeed, the
Roberts Proton Therapy Center at the Penn Abramson Cancer Center was built in 2010 for just
this purpose. It is the largest facility in the world for the use of this therapy and is the only proton
therapy center that is fully integrated with a National Cancer Institute (NCI) designated

comprehensive cancer center.
Case 2:19-cv-03902-CMR Document1 Filed 08/28/19 Page 8 of 33

10. Despite the benefits of Proton Beam Therapy, the proliferation of proton therapy
centers, and the payment for Proton Beam Therapy by other private insurers and government-
sponsored insurance plans, Aetna denied Paul’s pre- and post-operative requests for approval of
his Proton Beam Therapy, ignoring Paul’s own physician’s advice', and instead of acting in Paul’s
interests and the interests of all Aetna members, participants and beneficiaries of its health
insurance plans.

Il. Aetna’s multiple denials of Paul’s requests for Proton Beam Therapy were for
specious reasons, claiming that the procedure is “experimental and _ investigational.”
Notwithstanding Aetna’s labeling Proton Beam Therapy as “experimental and investigational,”?
Proton Beam Therapy has been in existence, and producing successful outcomes, for decades.

12. In truth, Proton Beam Therapy costs more than traditional radiation (/.e., photon
therapy); and this is the actual (yet unstated) reason for Aetna’s denial.

13. Undeterred by Aetna’s denials and claims that Proton Beam Therapy was
“experimental and investigational,” Paul trusted Dr. Lustig and paid for the Proton Beam Therapy
treatment from his own funds. As a result of the Proton Beam Therapy, Paul has thankfully had
positive results and has had no evidence of recurrence of the cancer a year-and-a-half after
treatment, with no discernible side effects from radiation.

14. ‘Plaintiffs have therefore brought this class action on behalf of themselves and all

others similarly situated so that this Court can determine whether Aetna’s “one-size fits all”

 

'Paul’s main physician is Dr. Robert Lustig, Chief of Clinical Operations in Radiation Oncology at Penn Medicine, a
Professor of Clinical Radiation Oncology at the University of Pennsylvania School of Medicine, and who himself has
authored numerous publications on proton therapy treatment. See
https://www.med.upenn.edu/apps/faculty/index.php/g20002680/c1744/p16732.

2 It should be noted that the phrase “experimental and investigational” as used by Aetna is a term of art in the insurance
industry not a term of art in the medical profession.
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approach to Proton Beam Therapy treatment for cancer violates its statutorily-mandated obligation
to discharge its fiduciary duty solely in interest of the Plan’s participants and beneficiaries
exclusively for the purpose of providing benefits and defraying costs.

15. Plaintiffs allege that Aetna’s conduct “lulled” them and members of the class into
a false sense of security by promising to provide medical treatment for cancer and thereafter failing
to do so. As such, Aetna’s conduct breached its fiduciary duty. Plaintiffs and the Class are
therefore entitled to remedy Aetna’s breaches of fiduciary duties pursuant to ERISA’s civil
enforcement mechanism found in the statute at 29 U.S.C. § 1132(a), to recover benefits due to
them under the Plan, enforce their rights under the Plan and to seek a clarification of rights to
future benefits, on behalf of themselves and all others who have been prescribed Proton Beam
Therapy by doctors, but denied under the Plan for the same, specious reasoning.

II. JURISDICTION AND VENUE

16. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
1331 (federal question jurisdiction), as it involves claims for breach of fiduciary duty under
employee benefit health plans regulated and governed by ERISA.

17. Defendants regularly and systematically conduct business within the
Commonwealth of Pennsylvania, and maintain offices in Blue Bell and Philadelphia. Personal
jurisdiction is, therefore, properly exercised over the Defendants.

18. Venue is proper in this District pursuant to 28 U.S.C. § 1391 as a substantial part,
if not all, of the events and/or omissions giving rise to the Plaintiffs’ claims emanated from
activities within this jurisdiction, wherein Defendants also conduct substantial business.
Furthermore, the Plan and the “policy of insurance” issued by Aetna were all delivered to Plaintiffs

in this judicial district.
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Il. THE PARTIES

19. Plaintiffs Paul Molloy and Jacqueline Molloy are husband and wife and adult
citizens of the Commonwealth of Pennsylvania, residing in Newtown Square, Pennsylvania 19073.

20.  =Ataill times relevant, Plaintiff Jacqueline Molloy is and has been employed by The
Vanguard Group, Inc. (“Vanguard”), working at its location in Malvern, Pennsylvania.

21. Asan employee of Vanguard, Plaintiff Jacqueline Molloy is entitled to participate
in its employee welfare benefit plan known as “Choice POS If with Aetna Health Fund Benefit
Plan” (hereinafter, the “Plan”). As noted above, the Plan is an “employee welfare benefit plan”
established by Ms. Molloy’s employer, Vanguard and regulated by ERISA. See Aetna 2018
Choice POS II Benefit Plan, prepared exclusively for the Vanguard Group, a true and correct copy
of which is attached hereto as Exhibit “A.” See also 29 U.S.C. § 1002(1).

22. The Plan is offered and funded by Vanguard and administered by Aetna Life
Insurance Company. See Exhibit A, at p. 92, “Additional Information.” As such, Aetna is both a
“person” and the “administrator” of the Plan as those terms are defined in 29 U.S.C. §§ 1002(9)
(person) and 1002(16)(A) (administrator).

23. At all times relevant to this action, Plaintiff Jacqueline Molloy was and is a
“participant” of the Plan as that term is defined by ERISA, 29 U.S.C. § 1002(7).

24, ~— Atall times relevant hereto, Plaintiff Paul Molloy was and is a “beneficiary” of the
Plan as that term is defined by ERISA, 29 U.S.C §1002(8).

25. Defendant Aetna Life Insurance Company (““ALIC”) is a corporation organized and
existing under the laws of the State of Connecticut, with its principal place of business located at
151 Farmington Ave., Hartford, Connecticut, 06156. Aetna Life Insurance Company is a wholly-

owned subsidiary of Aetna Inc.
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26. ALIC is licensed by the Commonwealth of Pennsylvania Department of Insurance
to conduct business as an insurance company in the Commonwealth of Pennsylvania.

27. Defendant Aetna Inc. is the parent company of ALIC. It is a corporation organized
and existing under the laws of the Commonwealth of Pennsylvania, with its principal place of
business at 15] Farmington Ave., Hartford, CT 06156.

28. | Upon information and belief, Defendant ALIC, through its parent corporation
Aetna Inc., is in the business of providing, administering and insuring health plans to consumers
in this judicial district.

29. In addition, Aetna Inc. authored and/or copyrighted the Aetna 2017 Clinical Policy
Bulletin (“CPB”) 0270, upon which ALIC and Aetna’s outside reviewers based their denials, as
set forth below in paragraphs 44-49 and 78-82, infra. See also, Exhibit D.

30. Asused in this Complaint, “Aetna” includes both ALIC and Aetna Inc.

31. Aetna is an ERISA “fiduciary” with respect to Mr. and Mrs. Molloy’s plan and the
plans of all putative class members in that Aetna is a “person” as defined by the statute and
exercises discretionary authority or discretionary control with respect to the management of the
plans; exercises discretionary authority or discretionary control with respect to the management or
disposition of the assets of the plans; or has discretionary authority or discretionary responsibility
in the administration of the plans. See 29 U.S.C. § 1002(21)(A). In addition, Aetna is the Plan’s
designated “administrator.”

IV. FACTUAL BACKGROUND
Diagnosis and Recommendation for Proton Beam Therapy
32. Paul Molloy is a 36-year-old man who first began experiencing lightheadedness,

tinnitus and bilateral arm-tingling in early 2016. Following a Head CT scan in May 2017 and a
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brain MRI, he was diagnosed with a brain tumor (WHO I], low-grade oligodendroglioma) in his
right temporal lobe.

33. On June 19, 2017, Mr. Molloy underwent a craniotomy (i.e., brain surgery) of his
right temporal lobe at the Hospital of the University of Pennsylvania Department of Radiation and
Oncology, which was successful in removing approximately 80% of Mr. Molloy’s tumor.

34. Following surgery, his surgical team recommended that he receive post-operative
radiation with Proton Beam Therapy.

35. | Proton Beam Therapy, as opposed to traditional radiation techniques such as photon
beam therapy, allows for precision of the proton beam and control of the dosage delivered to the
tumor site, while at the same time sparing surrounding healthy cells, tissue or organs from radiation
damage.

36. Alternately, photon therapy enters the area (in Plaintiff's case, his brain) on the one
side and exists the area on the other side, exposing healthy cells, tissue and organs to damage
caused by radiation.

37. Research shows that radiation exposure to the hippocampus (which can result from
exposing the brain to photon beam treatment) can result in cognitive impairments.

38. Specifically for Mr. Molloy, the use of Proton Beam Therapy would be more likely
to spare Mr. Molloy’s entire left temporal lobe, including the hippocampus, from exposure to
damaging radiation, unnecessary to the treatment of his tumor. As Mr. Molloy is right-handed,
the left frontal lobe is his dominant lobe, which controls thought, speech, purposeful movement
and personality. See Lustig 9/8/2017 Precertification Request, “Assessment” section, a true and

correct copy of which is attached hereto as Exhibit “B.”
Case 2:19-cv-03902-CMR Document1 Filed 08/28/19 Page 13 of 33

39. Mr. Molloy’s physician, Dr. Lustig (the director of the Network Development
Program and professor of Clinical Radiation Oncology of the Perelman School of Medicine at the
University of Pennsylvania and board-certified therapeutic radiologist at the Hospital of the
University of Pennsylvania) specifically advised the use of Proton Beam Therapy, as it:

« “[Is] More accurate than other kinds of radiation, allowing the physician to deliver .
full or higher doses while sparing surrounding healthy tissues and organs

e Can reduce long term neurocognitive side effects

e Reduces the risk of asecond malignancy by reducing the volume of radiated normal
tissue

e Protect[s] import [sic] structures of the brain including the hippocampus,
hypothalamus, pituitary, optic structures, temporal lobes and cochlea.”

Exhibit B, at p. 1.

40. Mr. Molloy’s wife, Jacqueline, maintains a health insurance plan through her
employer, Vanguard. This plan is administered by Aetna (ID Number W0000027841). Mr.
Molloy is a covered beneficiary under his wife’s Aetna plan.

41. On September 8, 2017, Dr. Lustig requested precertification from Aetna for Mr.
Molloy’s proton therapy treatment. With his precertification request, Dr. Lustig submitted his
professional assessment, along with a Proton Beam Radiotherapy Precertification Information
Request Form, an Ambulatory Precertification Response, and a copy of Mr. Molloy’s relevant

medical records. See Exhibit B.

The Plan
42. | Mr. Molloy is and was at all relevant times covered as a beneficiary by the Plan,

the relevant terms of which are as follows:
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Pp. 3-4: How Your Medical Plan Works

This Aetna Choice POS II medical plan provides coverage for a wide range of medical
expenses for the treatment of illness or injury. It does not provide benefits for all medical
care...

The plan will pay for covered expenses up to the maximum benefits shown in this Booklet.
Coverage is subject to all the terms, policies and procedures outlined in this Booklet. Not
all medical expenses are covered under the plan. Exclusions and limitations apply to
certain medical services, supplies and expenses. Refer to the What the Plan Covers,
Exclusions, Limitations sections and Schedule of Benefits to determine if medical services
are covered, excluded or limited.

P. 12: Requirements for Coverage
To be covered by the plan, services and supplies must meet all of the following
requirements:

1. The service or supply must be covered by the plan. For a service or supply
to be covered, it must:
. Be included as a covered expense in this Booklet;
e Not be an excluded expense under this Booklet. Refer to the

Exclusions sections of this Booklet for a list of services and supplies
that are excluded.

3. The service or supply must be medically necessary. To meet this
requirement, the medical services or supply must be provided by a physician, or
other health care provider, exercising prudent clinical judgment, to a patient for the
purpose of preventing, evaluating, diagnosing or treating an illness, injury, disease
or its symptoms. The provision of the service or supply must be:

1, In accordance with generally accepted standards of medical
practice;
2. Clinically appropriate, in terms of type, frequency, extent, site and

duration, and considered effective for the patient’s illness, injury or
disease; and

3. Not primarily for the convenience of the patient, physician or other
health care provider;
4, And not more costly than an alternative service or sequence of

services at least as likely to produce equivalent therapeutic or
diagnostic results as to the diagnosis or treatment of that patient’s
illness, injury or disease.

P. 47: Medical Plan Exclusions

Not every medical service or supply is covered by the plan, even if prescribed,
recommended or approved by your physician or dentist. The plan covers only those
services and supplies that are medically necessary and included in the What the
Plan Covers section. Charges made for the following are not covered except to
the extent listed under the What the Plan Covers section or by amendment attached
to this Booklet (emphasis added).

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P. 50: Experimental or investigational drugs devices, treatment or
procedures, except as described in the What the Plan Covers section.

P. 75: Definitions: Experimental or Investigational
A drug, a device, a procedure, or treatment will be determined to be experimental
or investigational if:

° There are insufficient outcomes data available from controlled
clinical trials published in the peer-reviewed literature to
substantiate its safety and effectiveness for the illness or injury
involved; or

* Approval required by the FDA has not been granted for marketing;
or

° A recognized national medical or dental society or regulatory
agency has determined, in writing, that it is experimental or
investigational, or for research purposes; or

° It is a type of drug, device or treatment that is the subject of a Phase
I or Phase II clinical trial or the experimental or research arm of a
Phase II] clinical trial, using the definition of “phases” indicated in
regulations and other official actions and publications of the FDA
and Department of Health and Human Services; or

e The written protocol or protocols used by the treating facility, or the
protocol or protocols of any other facility studying substantially the
same: drug; device; procedure; or treatment, or the written informed
consent used by the treating facility or by another facility studying
the same drug, device, procedure, or treatment states that it is
experimental or investigational, or for research purposes.”

See Exhibit A.

Aetna’s Pre-Certification Internal Denial
43. On September 8, 2017, within hours of Dr. Lustig’s request, Aetna denied Mr.
Molloy’s request for precertification. See Aetna September 8, 2017 “Level 1 Appeal Decision,” a
true and correct copy of which is attached hereto as Exhibit “C.”
44. —_Indenying this request, Aetna stated, “The basis for our determination is that Aetna
considers proton beam radiotherapy experimental and investigational for oligodendroglioma.
This is based on the CPB referenced above.” See Exhibit C. The denial also cites Aetna’s

“Experimental and Investigational” definition from its Plan (at p. 75, cited supra) in its denial.

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45. The original denial states it was authored by an “Aetna medical director, board
certified in family medicine with a designation of medical doctor and a complaint and appeal
registered nurse.” See Exhibit C, at p. 2.

46. The CPB Aetna referenced in its denial relates to Aetna’s May 12, 2017 Clinical
Policy Bulletin (“CPB”) Number 0270 on Proton Beam and Neutron Beam Radiotherapy, stating
that “[m]edical studies have not proven that this procedure is effective for treatment” of Mr.
Molloy’s condition. See May 12, 2017 Aetna CPB 0270, a true and correct copy of which is
attached hereto as Exhibit “D,”> and can be found in later iterations online at
http://www.aetna.com/cpb/medical/data/200_299/0270.html.

47. The 2017 CPB states, in relevant part:

1. Aetna considers proton beam radiotherapy (PBRT) medically necessary in any of
the following radiosensitive tumors:
° Chordomas or chondrosarcomas arising at the base of the skull or

cervical spine without distant metastases; or
Malignancies in children (21 years of age and younger);
Uveal melanomas confined to the globe (i-e., not distant metastases)
(the uvea is comprised of the iris, ciliary body, and choroid [the
vascular middle coat of the eye]).4

Ill. Aetna considers proton beam radiotherapy experimental and investigational for all
other indications, including the following indications in adults (over age 21) (not
an all-inclusive list) because its effectiveness for these indications has not been
established:

48. The list of indications on the 2017 CPB No. 0270 contained approximately 60

exclusions, with “oligodendroglioma” listed among these exclusions.

49. Although the online version of the CPB No. 0270 is listed as being updated on July

29, 2019 and May 9, 2018 (and prior to that, on May 12, 2017), the majority of its studies and

 

3 The only online version available from 2017 version appears to be a draft from March 9, 2017. Upon information
and belief, this CPB does not differ substantially from the May 2017 version.

* This 2017 CPB has since been revised twice (May 9, 2018 and July 29, 2019) and the 2019 version was updated to
include coverage for “[I]ocalized unresectable hepatocellular carcinoma (HCC)” in certain medical situations.

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peer-reviewed literature still date prior to 2014. It contains only a handful of references to 2017
or 2018 studies.

50. On September 12, 2017, Dr. Lustig appealed Aetna’s decision and faxed another
precertification request to Aetna on behalf of Mr. Molloy.

51. Aetna responded to this second request on September 13, 2017, upholding its
previous decision and citing the same set of factors in its original September 8th denial. See Aetna
September 13, 2017 Final Appeal Decision, a true and correct copy of which is attached hereto as
Exhibit “E.”

52. This Decision was authored by a Janet Conway, RN, an Appeals Nurse consultant
in Aetna’s National Clinical Appeals Unit, and states that an Aetna medical director, board
certified in internal medicine and oncology with a professional designation of MD and a registered
nurse participated in the appeal. Id.

Pre-Certification External Review Denial

53. Following the denial of his appeal, Mr. Molloy submitted an External review to
MCMC Federal ERO Review Team.

54. Mr. Molloy’s extremely thorough letter noted that Proton Beam Therapy is
permitted for children under 21 and adults over 65 for the same reasons his physician stated it
should be administered to Mr. Molloy. Molloy October 6, 2017 Letter, a true and correct copy of
which his attached hereto as Exhibit “F”.

55. | Mr. Molloy also noted in his appeals that proton beam therapy for primary central
nervous system tumors was not, in fact, “experimental and investigational,” as recognized by the
American Society for Radiation Oncology (“ASTRO”), in other recent studies, and by Mr.

Molloy’s own doctors.

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56. Indeed, Mr. Molloy noted that other insurers, such as Blue Cross and Medicaid,
cover proton beam therapy. See Nikhil G. Thaker, MD et al., “Variations in Proton Therapy
Coverage in the State of Texas: Defining Medical Necessity for a Safe and Effective Treatment,
International Journal of Particle Therapy (2016), 500-508 (stating BCBS-TX and Medicare
consider Proton Beam Therapy medically necessary for cancers of the central nervous system and
for localized prostate cancers)’.

57. Mr. Molloy stated that Proton Beam Therapy was not investigational or
experimental because: (1) it has been used to treat patients since the mid-1950s; (2) was approved
for use in 1988 by the U.S. Food and Drug Administration; (3) Medicare and Medicaid began
covering the procedure in 2000. Exhibit E, at 2.

58. Mr. Molloy’s letter also detailed multiple studies from 2012, 2015, 2017 proving
specifically that patients with low-grade gliomas like Mr. Molloy’s tolerated Proton Beam
Therapy. Jd.

59. Three of the cited studies demonstrated that Proton Beam Therapy is more likely to
produce superior therapeutic results to traditional photon therapy, especially because of its reduced
negative effect on the surrounding healthy organs and tissues caused by radiation damage:

e Proton Therapy for Low Grade Gliomas: Results from a Prospective Trial®: “Proton
radiation therapy offers an alternative to photon-based radiation therapies as a means of
markedly reducing excess doses to surrounding normal tissue, thereby potentially
mitigating adverse effects on neurocognitive and neuroendocrine function for patients with

brain tumors.”

* Mayo Clinic: Clinical Case of Individuated Use of Proton Beam Therapy’: “And because
proton beam therapy can spare healthy tissue from radiation exposure, as compared to the

 

> Available at https://theijpt.org/doi/pdf/10.14338/IJPT-15-00029.1, at Table 2.

* Helen A. Shih, MD, e¢. ai., “Proton Therapy for Low Grade Gliomas: Results from a Prospective Trial,” Cancer,
13 Jan. 2015, found at https://onlinelibrary.wiley.com/doi/full/10.1002/cner.29237

? Mayo Clinic, found at https:/Awww.mayoclinic.org/documents/the-clinical-case-for-individualized-use-of-proton-
beam-therapy/doc-20145258.

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best x-ray techniques, it is widely believed that this will yield to a lower risk of radiation-
induced cancers... Some estimates are that proton beam radiation can decrease the risk of
a radiation-induced cancer by as much as 10-fold.”

¢ Should Randomized Clinical Trials Be Required for Proton Radiotherapy?*:

60.

o “In brief, the arguments for use of protons in radiation therapy are as follows: (1)

Owing primarily to their depth dose characteristics, the dose distributions that can
be achieved with protons are in almost all cases superior to those possible with x-
rays; (2) there is virtually no difference in tissue response per unit does between
protons of therapeutic energies as compared with x-rays, so that the only relevant
differences are physical; and (3) radiation delivered to normal tissues causes
damage to them, just as it does to tumors, and the severity of that damage increases
with increasing doses. None of these points are contested by any of the critics of
the use of proton beam therapy, as these points are demonstrated facts.”

“It is therefore hard to imagine how any objective person could avoid the
conclusion that there is, at the very least, a high probability that protons can provide
superior therapy to that possible with x-rays in almost all circumstances. It is
primarily for this reason that the practitioners of proton beam therapy have found
it ethically unacceptable to conduct RCTs [randomized clinical trials] comparing
protons with x-rays. Such a comparison would not meet a central requirement for
performing RCTs, namely that there be equipoise between the arms of the trial.”
“Of course, it is really all about money. Can anyone seriously believe that, if
protons were cheaper than x-rays, there would be similar objections raised as to
their immediate and widespread use?”

The letter also cited to a July 2017 American Society for Radiation Oncology

(ASTRO) article!° describing ASTRO’s revised Proton Beam Therapy Model Policy that detailed

which cancer diagnoses met ASTRO’s evidence-based standards and should be covered by private

insurers and Medicare. /d. At 3.

 

8 Goitein, Michael, James D. Cox, "Should Randomized Clinical Trials Be Required for Proton Radiotherapy?"
Journal of Clinical Oncology, 2008, 26(2), pp. 175-176, found at
https://ascopubs.org/doi/10.1200/JCO.2007.14.4329

° According to its website, ASTRO is the premier radiation oncology society in the world, with more than 10,000
members who are physicians, nurses, biologist, physicists, radiation therapists, dosimetrists and other health care
professionals who specialize in treating patients with radiation therapies. Upon information and belief, radiation
oncologists rely on ASTRO Guidelines to guide their prescriptions.

'0 Available at https://www.astro.org/News-and-Publications/News-and-Media-Center/News-
Releases/2017/ASTRO-updates-insurance-coverage-recommendations-f

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61. In its Revised Proton Beam Therapy Model Policy, ASTRO stated that “PBT is

considered reasonable in instances where sparing the surrounding tissue cannot be adequately

achieved with photon-based radiotherapy and is of added clinical benefit to the patient.” See

ASTRO Model Policies, Proton Beam Therapy, a true and correct copy is attached hereto as

Exhibit “G,” at 4.!! ASTRO lists four instances, one of which as when “[t]he target volume is in

close proximity to one or more critical structures and a steep dose gradient outside the target must

be achieved to avoid exceeding the tolerance dose to the critical structure(s).” Jd.

62. | ASTRO also updated its Group | indications, which represent the clinical scenarios

that frequently support the use of proton therapy based on medical necessity and published

clinical data. These indications include:

Ocular tumors, including intraocular melanomas
Tumors that approach or are located at the base of skull, including but not limited to:

o Chordoma

o Chondrosarcomas
Primary or metastatic tumors of the spine where the spinal cord tolerance may be exceeded
with conventional treatment or where the spinal cord has previously been irradiated
Hepatocellular cancer
Primary or benign solid tumors in children treated with curative intent and occasional
palliative treatment of childhood tumors when at least one of the four criteria noted above
apply
Patients with genetic syndromes making total volume of radiation minimization crucial
such as but not limited to NF-1 patients and retinoblastoma patients
Malignant and benign primary CNS tumors
Advanced (eg, T4) and/or unresectable head and neck cancers
Cancers of the paranasal sinuses and other accessory sinuses
Non-metastatic retroperitoneal sarcomas
Re-irradiation cases (where cumulative critical structure dose would exceed tolerance
dose)

Id., at 5.

 

‘LAIso available at
https://www.astro.org/uploadedFiles/ MAIN SITE/Daily Practice/Reimbursement/Model_Policies/Content_Pieces

{ASTROPBTModelPolicy.pdf

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63. Plaintiff himself suffered from a malignant CNS tumor.

64. This change to the ASTRO guidelines was made three months (June 2017) before
Aetna’s initial September 8, 2017 denial of Mr. Molloy’s precertification request.

65. Still, MCMC denied Mr. Molloy’s External Review on October 6, 2017. See
October 6, 2017 Denial, a true and correct copy of which is attached hereto as Exhibit “H.”

66. In its denial, MCMC stated: “there is insufficient clinical data in the medical
literature to show that proton is equivalent or superior to other treatment options such as photon
therapy for primary brain tumors.” Jd., at 2.

67. It also held Proton Beam Therapy to be investigational/experimental because,
according to the Aetna Summary Plan Description, “it is a type of drug, device or treatment that is
the subject of a Phase I or phase II clinical trial or the experimental or research arm of a Phase III
clinical trial.”

68. Finally, MCMC stated that Proton Beam Therapy was not medically necessary
because it is “more costly than an alternative service or sequence of services at least as likely to
produce equivalent therapeutic or diagnostic results as to the diagnosis or treatment of that
patient’s illness, injury, or disease.” Jd.

69. |The MCMC Reviewer most recent reference was the same 2015 trial cited by Mr.
Molloy in his appeal submissions, but did not cite the more recent 2017 ASTRO Model Policy
guidelines, or any academic study or reference post-dating that 2015 study.

70. | The MCMC Reviewer notes that he is board certified in Radiation Oncology, and
that he is a member of ASTRO, as well as the Radiological Society of North America. Still, this
Reviewer issued his/her decision without any consideration of the new 2017 ASTRO Model

Policy, adopted at least four months prior to MCMC’s rejection of the appeal.

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Post-Service Claim Submissions and Denials

71. As proton therapy was Mr. Molloy’s only valid option to ensure that his
surrounding brain tissue be spared radiation, Mr. Molloy and his family paid for his treatment out-
of-pocket, at a discounted cost of approximately $50,000.

72. Mr. Molloy received proton beam therapy radiation treatment for his brain tumor
at HUP starting in October 2017 and finishing in December 2017.

73. Mr. Molloy submitted a post-service claims and appeals for reimbursement to
Aetna on January 4, 2018 and July 20, 2018; submitting his similar extensive documentation and
research on proton beam therapy.

74. Aetna denied both the Level | and Final Appeals on January 25, 2018 and August
7, 2018, finding the services to be “experimental or investigational.” See Jan. 25, 2018 and August
7, 2018 Aetna Denial Letters, attached hereto as Exhibit “I” and “J.”"?

75. Then, Mr. Molloy submitted his external review to Independent Medical Expert
Consulting Services (““IMEDECS”).

76. On October 10, 2018, IMEDECS denied this external review appeal, also
concluding that the treatment requested is “experimental/investigational.” See October 10, 2018
IMEDECS Letter, attached hereto as Exhibit K.

77. Interestingly, the IMEDECS reviewer also stated that “The American Society for
Radiation Oncology (ASTRO) emerging technology committee report on proton therapy

specifically states that more clinical data are needed to fully establish the role of proton beam

 

12 The first denial was authored by “an Aetna medical director, board certified in oncology medicine and a complaint
and appeal nurse,” and the second denial was authored by “an Aetna medical director, board certified in Internal
Medicine with a professional designation of Doctor of Medicine (MD), a complaint and appeal nurse, with a
professional designation of Registered Nurse “RN), and a complaint and appeals analyst.” See Exhibits I and J. No
one certified in Radiation Oncology participated in these internal appeals.

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therapy in CNS tumors.” However, the reviewer does not cite any date for this committee report,
but internet searches reveal this report to have been published in 2012. See Allen AM, “An
evidence based review of proton beam therapy: the report of ASTRO’s emerging technology
committee,” Radiother Oncol. 2012 Apr;103(1):8-11."? It is likely that the IMEDECS Reviewer
lifted this directly from Aetna’s CPB No. 0270, which itself does not contain the updated 2017
ASTRO Model Policy Guidelines.'4

78. In fact, as stated supra, though the CPB No. 0270 cites to approximately 100 studies
from 2006-2014, it only contains a handful of studies and peer-reviewed literature references after
that year, despite the CPB being reviewed and revised every year since 2008.

79. And yet, though the IMEDECS reviewer’s denial report was prepared more than a
year after ASTRO adopted the new Model Policy (which actually recommends the use of proton
therapy to treat CNS tumors), the reviewer makes no mention of the new 2017 ASTRO Model
Policy, or any post-2015 studies at all. Jd, at 3.

80. Mr. Molloy submitted his final, external review to the Medical Review Institute of
America, LLC (“MRIoA”) on January 3, 2019. MRIoA upheld the previous denials and issued its
final denial on February 7, 2019 based on the experimental/investigational exclusion and Aetna
CPB Number 0270. See Feb. 7, 2019 Denial, a true and correct copy of which is attached hereto
as Exhibit “L.” .

81. In sum, Aetna is responsible for and committed the course of conduct described

herein, including but not limited to the following:

 

'3 Available at https://www.ncbi.nim.nih.gov/pubmed/22405807.
'4 The most recent updated version of Aetna’s CPB No. 00270 from July 29, 2019 does reference the 2017 ASTRO

updated guidelines, but states that the “ASTRO model policy states that it is not a clinical guideline and that it was
created for insurance reimbursement purposes.”

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a. Aetna has failed to properly update Clinical Policy Bulletin No. 0270 (“CPB No.
0270”), Proton Beam and Neutron Beam Radiotherapy, as it relies upon outdated
medical evidence and ignores contemporary medical evidence, insofar as CPB No.
0270 provides that Proton Beam Therapy is covered for insured members in only
three, extremely limited, circumstances:

= Chordomas or chondrosarcomas arising at the base of the skull or cervical
spine without distant metastases; or

= Malignancies in children (21 years of age and younger);

® Uveal melanomas confined to the globe (i.e., not distant metastases) (the
uvea is comprised of the iris, ciliary body, and choroid [the vascular middle
coat of the eye]).

b. Aetna implemented policies and procedures for prior authorization review and the
adjudication of insured members’ claims that provide for an inadequate review of
clinical records by its medical directors prior to rendering a determination of
coverage.

c. Aetna compounds its bad faith breach of fiduciary duties, and confounds learned
health care providers, by having CPB No. 0270 reviewed and applied to insured
members’ requests for prior authorization and in the adjudication of insured
members’ claims by medical directors who are unqualified to render determinations
of coverage for Proton Beam Therapy'*, including medical directors who are not
board certified in the requisite specialty, and yet are charged with making life and
death decisions for members who are entirely reliant upon the Plan for timely access
to medically necessary services.

d. By placing CPB No. 0270 in the hands of medical directors who are not qualified

to render opinions as to the medical necessity of Proton Beam Therapy; who lack

 

'5 None of the internal Aetna denials were authored by physicians board certified in radiation oncology.

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the education, training and experience to appreciate factors in a given case that
indicate the medical necessity for Proton Beam Therapy; who are unaware of
contemporary medical evidence in the requisite specialty indicating the medical
necessity for Proton Beam Therapy; and who follow the inadequate policies and
procedures for clinical review, Aetna categorically denies all prior authorization
requests and claims for Proton Beam Therapy for all types of cancers on CPB No.
0270's “not indicated” list, including brain tumors.

82. In other words, the external reviews simply rubber-stamped Aetna’s prior denials
using Aetna’s own incomplete, arbitrary, medically unreasonable and internally inconsistent
Policy, without conducting any truly independent evaluations of whether Proton Beam Therapy is
a proven and effective treatment for Plaintiff's diagnosed cancer.

83. | Aetna has chosen to rely on the opinions of its medical reviewers, despite their lack
of requisite qualifications and expertise in the specific radiation oncology field, and/or obvious
ignorance of current relevant medical opinion'®, rather than relying on the opinions of their

patient’s own esteemed and properly board-certified health care providers.

 

'6 Although too recent to have been included in Mr. Molloy’s appeal submissions, a study published in the most
recent edition of Practical Radiation Oncology (2019) examined 141 patients with either World Health Organization
2007 grade I to II low-grade gliomas, or WHO 2007 grade ITI gliomas (with isocitrate dehydrogenase | mutation)
who were treated with Proton Beam Therapy. See Sophia C. Kamran MD, ef ai. “Patterns of Failure Among
Patients with Low-grade Glioma Treated with Proton Radiation Therapy,” Practical Radiation Oncology (2019) 9,
€356-e361, a true and correct copy of which is attached hereto as Exhibit “M.” While recognizing that it was a
single-institution, retrospective study, the researchers noted: “To our knowledge, this was the largest study of LGGs
treated with [Proton Beam Therapy].” See id. at e359, The researchers highlighted that “[pJatients with LGG have a
relatively long survival and are predominantly young adults; therefore treatment that minimizes toxicities in this
patient population has significant impact on these individuals and their families, whom they are often supporting.”
Id. “Our results demonstrate that proton beam therapy is effective as a treatment modality for LGGs, with excellent
local control rates... This study is encouraging because despite the drop-off dose gradient associated with protons,
current treatment margins are adequate and do not translate into more treatment failures. Therefore, PRT is a
reasonable treatment option in this relatively young patient population to reduce excess radiation dose to the
collateral brain and other normal tissues while providing disease control comparable to photon experiences.” /d.

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84. Mr. Molloy was forced to incur approximately $50,000 for Proton Beam Therapy
treatment, without any assistance from Aetna. Fortunately, Mr. Molloy, unlike many of the class
members, was able to afford such a procedure. Mr. Molloy has had no evidence of recurrence of
the cancer for over a year-and-a-half, and without any of the harmful side effects that photon
therapy can cause.

85. | Mr. Molloy now pursues this fight for change, individually and on behalf of the
Class Members, particularly those less fortunate and unable to bear the economic expense of
Proton Beam Therapy treatment, so that Aetna’s insured members suffering with cancer can focus
on their recovery rather than on the extreme and outrageous anxiety and distress of wrongful
coverage denials and the crippling cost of care.!”

86. Under ERISA, Plaintiffs and the Class members are entitled to equitable and
declaratory relief enjoining the application of the Aetna CPB Number 0270 and denying benefits
coverage for Proton Beam Therapy prescribed by a doctor and awarding other such relief the Court
finds appropriate.

CLASS ACTION ALLEGATIONS

87. Plaintiff brings this action individually and all others similarly situated as a

Class Action pursuant to Federal Rules of Civil Procedure Rule 23. Plaintiff incorporates herein,

by reference, all other paragraphs and footnotes of this Class Action Complaint as if fully set forth

herein at length.

 

'7 As United States District Court Judge Robert N. Scola, Jr. (S.D. Fla.) recently wrote in his recent April 29, 2019
Order recusing himself from Cole v. United Healthcare Insurance Co., 1:19-cv-21258 (Doc. 6) (a class action suit
against insurer of wrongly denying coverage for Proton Beam Therapy for prostate cancer treatment) due to his own
prostate cancer diagnosis: “It is undisputed among legitimate medical experts that proton radiation therapy is not
experimental and causes much less collateral damage than traditional radiation. To deny a patient this treatment, if
it is available, is immoral and barbaric.” Ja See J. Scola Order, a true and correct copy of which is attached hereto
as Exhibit “N.”

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88. Pursuant to Rule 23(b)(1) and (b)(2), Plaintiff seeks certification of a class defined

as follows:

All persons covered under ERISA-governed plans administered or insured by

Aetna whose requests for medically prescribed Proton Beam Therapy were denied

at any time within the applicable statute of limitations, or whose requests for Proton

Beam Therapy will be denied in the future, based upon a determination by Aetna

that Proton Beam Therapy is not medically necessary, or is experimental or

investigational.

89. The Class claims all derive directly from a single course of conduct by Defendants.
Defendants engaged in uniform and standardized conduct toward the Class. They did not
differentiate, in degree of care or candor, their actions or inactions among individual Class
members. The objective facts are the same for all Class members. Within each Claim for Relief
set forth below, the same legal! standards under federal law govern. Accordingly, Plaintiff brings
this lawsuit as a Class Action on his own behalf and on behalf of all other persons similarly situated
as members of the proposed Classes pursuant to Federal Rule of Civil Procedure 23.

90. This action has been brought and may be properly maintained as a Class Action
under the provisions of Federal Rules of Civil Procedure Rule 23 because there is a well-defined
community of interest in the litigation and the proposed class is easily ascertainable. This action
satisfies the numerosity, commonality, typicality, adequacy, predominance, and superiority
requirements of those provisions.

A. Numerosity: Upon information and belief, potential members of the
proposed class as defined are so numerous that joinder of all the members
of the proposed class is impracticable. While the precise number of
proposed class members has not been determined at this time, Plaintiff is
informed and believes that there are a substantial number of individuals
covered under plans insured or administered by Aetna who have been

similarly affected.

B. Commonality: Common questions of law and fact exist as to all Class
members and predominate over any questions solely affecting individual

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C.

D.

Class members. Among the questions of law and fact common to Plaintiff
and the Class Members are:

a. Whether Aetna’s use of its medical policy related to Proton Beam
Therapy violates its statutorily-mandated requirement to act as a
fiduciary with respect to the Plan solely in the interest of the
participants and beneficiaries and for the exclusive purpose of: (1)
providing benefits to participants and their beneficiaries; and (2)
defraying reasonable expenses of administering the plan.

b. What criteria Defendants actually consider in their decision that
Proton Beam Therapy is not medically necessary, or experimental
and/or investigational for certain types of cancer, and whether that
decision-making process was a separate breach of their fiduciary
duty;

c. Why Defendants rely on medical directors who are unqualified to
render determinations of coverage for Proton Beam Therapy,
including medical directors who are not board-certified in the
requisite specialty, and whether that reliance was a separate breach
of their fiduciary duty; and

d. Whether Aetna’s continued denial of Proton Beam Therapy to
patients whose own physicians have determined the procedure to be
medically necessary for their types of cancer is a separate breach of
its fiduciary duty.

Typicality: Plaintiffs’ claims are typical of the claims of Class Members
because every cancer patient who was prescribed Proton Beam Therapy by
their physicians was denied by Aetna for the reason that Proton Beam
Therapy was not medically necessary or is experimental or investigational.

Adequacy of Representation: Plaintiffs will fairly and adequately protect
the interests of the proposed Class. Plaintiffs have retained counsel
competent and experienced in complex class action litigation and with
adequate resources to assure the interests of the Class will not be harmed.
The named Plaintiffs are typically situated and have no conflict of interest
with the Class as a whole.

Class Action Maintainable Under Rule 23(b)(2): By misrepresenting the

scope of the insurance coverage provided by Aetna, its conflicts of interest
and breaches of fiduciary duty, Aetna has acted or refused to act on grounds
generally applicable to the Class, thereby making the claims for
reimbursement, injunctive, and declaratory relief sought herein the
appropriate remedies for the Class.

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F. Class Action Maintainable under Rule 23(b)(3): A class action is
appropriate here because common questions of law and fact predominate
over any individual questions affecting only individual members. Class
treatment is superior to the alternatives for the fair and efficient adjudication
of the controversy alleged herein. Such treatment will permit a large
number of similarly situated individuals to prosecute their common claims
in a single form simultaneously, efficiently, and without the duplication of
effort and expense that numerous individual actions would entail. No
difficulties are likely to be encountered in the management of this class
action that would preclude its maintenance as a class action, and no superior
alternative exists for the fair and efficient adjudication of this controversy.
Without a class action, Defendants will remain free from responsibility for
its bad faith breach of fiduciary duties. Without class treatment, Plaintiff
and similar entities will be forced to conduct protracted, piecemeal litigation
that might risk establishing conflicting standards of conduct and/or
determinations.

G. Ascertainability: The Class Members are ascertainable as all Defendants
can identify every single class member from their own records.
Accordingly, mere ministerial acts on the part of Defendants and the
potential Class Members will be necessary to ascertain all potential Class
Members.

91. In this action, Plaintiffs seek all statutorily appropriate and available relief from
Aetna for violating its duty to act as an ERISA fiduciary with respect to its plan participants, for
the reasons set forth below:

COUNT I: BREACH OF FIDUCIARY DUTY

92. Plaintiff and the Class Members incorporate by reference the foregoing paragraphs
as though fully set forth herein.

93. As set forth herein, Plaintiff and the Class Members are participants in or
beneficiaries of employee welfare benefit plans or employee benefit plans administered and/or
underwritten by Aetna and governed by ERISA.

94. Aetna acts as an ERISA fiduciary with respect to the administration and claims

decisions of the group health benefit plan it issues to employers, such as the Plan and the Class

plans, within the meaning of 29 U.S.C. § 1109(a) and 1002(21)(A). With respect to these plans,

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Aetna exercises discretionary authority or control respecting management of the plans, and
exercises authority or control respecting management or disposition of the plans’ assets.

95. Aetna has the authority, and actually exercises the authority, to fund plans or
administer self-funded plans (like the Plan), make decisions on claims for benefits and appeals
thereof, and to write checks for benefits.

96. As an ERISA fiduciary, Aetna must act with the utmost prudence and loyalty in
communicating to plan participants and beneficiaries and in administering their claims under the
plan, and must otherwise comply with the requirements of ERISA, and with terms and conditions
of its ERISA plans themselves, in making benefit determinations and processing claims on behalf
of plan participants and beneficiaries. Specifically, Aetna is statutorily mandated to act as a
fiduciary with respect to the Plan solely in the interest of the participants and beneficiaries and for
the exclusive purpose of: (1) providing benefits to participants and their beneficiaries; and (2)
defraying reasonable expenses of administering the plan.

97. Due to this breach of fiduciary duty, Aetna violated its own statements to plan
participants and beneficiaries to the contrary when it stated that it would, in fact, deliver access to
medically necessary healthcare for the treatment of cancer. See 29 U.S.C. § 1104(a)(1)(A).

98. In addition, Aetna must discharge its fiduciary duty “with the care, skill, prudence,
and diligence under the circumstances then prevailing that a prudent man acting in a like capacity
and familiar with such matters would use in the conduct of an enterprise of a like character and
with like aims.” See 29 U.S.C. §1104(a)(1)(B).

99. Aetna repeatedly violated these obligations and duties to Plaintiffs and the Class
Members during the class period in part by the following conduct:

1. Implementing Clinical Policy Bulletin No. 0270: Proton Beam and Neutron
Beam Radiotherapy, which relies upon outdated medical evidence, ignores

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contemporary medical evidence, and relies more heavily on actuarial
calculation of risk pools;

2. Having Clinical Policy Bulletin No. 0270 reviewed and applied to insured
members’ requests for prior authorization, and in the adjudication of insured
members’ claims by medical directors who are unqualified to render
determinations of coverage for Proton Beam Therapy, including medical
directors who are not board certified in the requisite specialty; and

3. By continuing to put its financial interests above those of the Plan
participants and beneficiaries to the detriment of those participants and
beneficiaries as opposed to fulfilling its duty to act solely for the benefit of
the Plan’s participants and beneficiaries by providing them benefits.

Because Aetna has categorically and improperly denied Paul and other Class Members’ requests
for Proton Beam Therapy, Aetna has breached, and continues to breach, its fiduciary duty to
Plaintiffs and the Class.

100. Pursuant to 29 U.S.C. § 1132(a), Plaintiff and the Class are entitled to enforce
ERISA and hold Aetna liable for its breaches of fiduciary duty. As such, Plaintiffs and the Class

seek equitable and remedial relief as follows:

1. An injunction compelling Aetna to:
¢ Retract its categorical denials for Proton Beam Therapy;

e Provide notice of said determination in the form and manner
required by ERISA to all Class Members who have had prior
authorization requests or claims for Proton Beam Therapy denied;

e Re-evaluate all prior authorization requests or claims for Proton
Beam Therapy by Plaintiff and the Class Members under an ERISA-
compliant procedure and, where warranted, reimburse Plaintiff and
the Class Members for amounts incurred for Proton Beam Therapy
as a result of coverage denials in violation of ERISA;

e An accounting of any profits made by Aetna from the monies
representing the improperly denied claims and disgorgement of any
profits Aetna may have realized by virtue of its violations of ERISA
and other fiduciary breaches;

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e Such other equitable and remedial relief as the Court may deem
appropriate; and

e Attorneys’ fees and costs of litigation.

REQUEST FOR RELIEF

WHEREFORE, Plaintiffs individually and on behalf of the Class Members requests relief
as follows:

101. An Order certifying the proposed Class, appointing the Molloys to represent the
proposed Class, and designating the Molloys’ counsel as Class Counsel;

102. An Order declaring that Aetna’s practices described herein violate ERISA and its
ERISA-based fiduciary duties;

103. Injunctive and reimbursement relief as described and requested above;

104. An Order awarding attorneys’ fees and costs of litigation for this action in amounts
to be determined by the Court;

105. Payment of pre-judgment and post-judgment interest as allowed under ERISA; and

106. For such other and further relief as this Court may deem just and proper.

DATED: AUGUST 28, 2019 FIRST LAW STRATEGY GROUP, LLC

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